Case 1:19-cr-00561-LAP Document3 Filed 08/06/19 Page 1 of 1

DOCKET No. IA CL ol CLAP DEFENDANT: SHV Don ( A!
AUSA (lito G dv O DEF'S COUNSEL Rc O Se.

[] RETAINED C] FEDERAL DEFENDERS LI CJA

O INTERPRETER NEEDED C] DEFENDANT WAIVES PRE-TRIAL REPORT

CRuleS  CRule9 C Rule 5(c)(3) C Detention Hrg. DATE OF ARREST OVOL. SURR.
ond TIME OF ARREST COON WRIT
Kl Other: Cc CMNnad Conicauer TIME OF PRESENTMENT

BAIL DISPOSITION

 

CI DETENTION ON CONSENT W/O PREJUDICE _ {J DETENTION: RISK OF FLIGHT/DANGER (1 SEE ORDER
C DETENTION: HEARING SCHEDULED FOR
C1 AGREED CONDITIONS OF RELEASE rn po G na at
(] DEFENDANT RELEASED ON OWN RECOGNIZANCE PUUA
O$ OD, O50 PRB 9
Oe 3 a
(J SECURED BY $_©V0 ’SH/PROPERTY: Co. eae ue FURS ‘ AiG
\Z SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS) ~ + A\l Cass AXTS oath a Fp
1 REGULAR PRETRIAL SUPERVISION CT PRETRIAL a ION

C11 DRUG TESTING/TREATMENT [MENTAL HEALTH EVALUATION/TREATMENT
CL) HOME INCARCERATION GCoyihiws SL OOCURFEW = }*ELECTRONIC,MONITQRING

1 OTHER CONDITIONS __a. suffme sp Git aw LUN.
4D CON ArHe | emits GEN Dery ~ Uaa0 Noo. fra Nasi
Mud Oe * (ah raahe ch, t , s J

C1 DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET

1) DEF. TO BE RELEASED ON OWN SIGNATURE; REMAINING CONDITIONS TO BE MET BY
XC) DEF. TO BE RELEASED UPON SATISFACTION OF FOLLOWING CONDITIONS:
; REMAINING CONDITIONS TO BE MET BY

  
     
  
  

 

 

 

 

COMMENTS/ADDITIONAL PROCEEDINGS: — Co ‘
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Wes “2 ONICALLY iit 7

  

‘> BER. ARRAIGNED; PLEADS NOT GUIL L) CONFERENCE BEFORE D.J. ON
CO SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL

FOR RULE 5(c)(3) CASES:

 

COU IDENTITY HEARING WAIVED C1 PRELIMINARY HEARING WAIVED
C1 DEFENDANT TO BE REMOVED LON DEFENDANT'S CONSENT
DATE FOR PRELIMINARY HEARING __ LJ ON DEFEN Ones S CONSENT

 

 

von Qugagt, 2019 ete l Code

UNITED STATES eee JUDGE, S.DK.Y.

WHITE (ORIGINAL) COURT FILE PINK US ATTORNEY'S OFFICE YELLOW - U.S MARSHAL GREEN PRETRIAL SERVICES AGENCY
REV (2011) TH-2

 
